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                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION
CLARE THOMAS,                               }
                                            }
      Plaintiff,                            }
                                            }
v.                                          }    Case No.: 2:18-CV-468-RDP
                                            }
T-MOBILE USA, INC., et al.,                 }
                                            }
      Defendants.                           }


            ORDER SETTING RULE 16(b) SCHEDULING CONFERENCE


      This case is SET for a Rule 16(b) scheduling conference at 2:30 p.m. on Monday, July

23, 2018, in chambers of the undersigned located at the Hugo L. Black United States

Courthouse, 1729 5th Avenue North, Room 730, Birmingham, Alabama.

      DONE and ORDERED this July 13, 2018.



                                        _________________________________
                                        R. DAVID PROCTOR
                                        UNITED STATES DISTRICT JUDGE
